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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL



 Case No.       CV 16-9368 DSF (AGRx)                                   Date   8/7/17
 Title     Tom Schmidt v. Sherri Annd Baldy, et al.

 Present: The Honorable          DALE S. FISCHER, United States District Judge
                  Paul Songco                                       Pat Cuneo
                  Deputy Clerk                                    Court Reporter
      Attorneys Present for Plaintiffs:                Attorneys Present for Defendants:
                Gregory L. Young                                  Douglas W. Colt
 Proceedings:           Scheduling Conference



       The matter is called and counsel state their appearances. The Court and counsel
discuss status of the case as set forth on the record. The Court establishes the case
management dates as stated on the record. (See Order re Trial for specific dates and
times.) The Court considers these dates to be firm dates that will not be changed except
on a showing of good cause. The stipulation of the parties is not sufficient. The
pendency of settlement discussions does not constitute good cause. Each side is limited
to five motions in limine unless the Court orders otherwise.




CV-90 (12/02)                           CIVIL MINUTES - GENERAL                            Time: .02
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